CREPED STA rEs BANKRUPTCY CouRTESOUTAREN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)
C] Original Plan
{m) FIRST Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
Cc] Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Zenaida I Hernandez Fernandez JOINT DEBTOR: . CASE NO.: 23-13258-LMI
SS#: xxx-xx- 8887 SS#: xxx-xx-
1 NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and

modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
Rules 2002-1 (C)(5), 3015-1(B}(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
on each line listed below in this section to state whether the plan includes any of the following:

The valuation of a secured claim, set out in Section III, which may result in a .

partial payment or no payment at all to the secured creditor L] Included [m] Not included

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set :

out in Section II] [1] Included (m) Not included

Nonstandard provisions, set out in Section IX {m] Included [] Not included
Ik. PLAN PAY: TH OF PLAN AND DEBTOR(S)' ATT: 'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

1. ($125.00 formonths 1 to 36 ;
B. DEBTOR(S)' ATTORNEY'S FEE: [] NONE  [] PROBONO
Total Fees: $4,650.00 Total Paid: $1,600.00 Balance Due: $3,050.00
Payable $112.50 /month (Months 1 to 27 )
Payable $12.50 /month (Months 28 to 28 )

Allowed fees under LR 2016-i(B)(2) are itemized below:
Safe Harbor: $4,500.00 Attorney's Fees + $150.00 Costs = $4,650.00

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

Hil. TREATMENT OF SECURED CLAIMS [m8] NONE

IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]_ [B] NONE
Vv. TREATMENT OF UNSECURED NONPRIORITY CREDITORS (-] NONE

A. Pay $0.00 ‘month (Months 1 to 27_)

Pay $100.00 /month (Months 28 to 28 )
Pay $112.50 ‘month (Months 29 to 36 )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. (J If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [mm] NONE

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VI. STUDENT LOAN PROGRAM [8] NONE

VII. EXECUTORY CONTRACTS AND UNEXPIRED LEASES [lm] NONE
VIII. INCOME TAX RETURNS AND REFUNDS:

[m] Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.

IX. NON-STANDARD PLAN PROVISIONS [] NONE
{m] Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
Confirmation of the plan shall not bar Debtor's counsel from filing an Application for Compensation for any work performed
before confirmation.
[] Mortgage Modification Mediation

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

SPiT~Ze Debtor Joint Debtor

Zeftaida I Hernandez Fernandez Date Date

/s/ Jose A. Blanco, Esq.

: ey ‘ Date
Attorney with permission to sign on

Debtor(s)' behalf who certifies that
the contents of the plan have been
reviewed and approved by the

Debtor(s). |

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan

contains no nonstandard provisions other than those set out in paragraph IX.

\ This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)’ attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.

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